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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  JAMES HODGES,

         Plaintiff,                                       Case No. 1:19-cv-02185-JPH-DLP

  v.                                                      Honorable Judge James Patrick Hanlon

  IMC CREDIT SERVICES, LLC,

         Defendant.

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         NOW COMES James Hodges (“Plaintiff”), by and through his attorneys, Sulaiman Law

 Group, Ltd., and Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Notice is hereby

 provided that Plaintiff James Hodges is voluntarily dismissing his claims as to IMC Credit

 Services, LLC (“Defendant”) with prejudice. Each party shall bear its own costs and attorneys’

 fees.


 Dated: May 20, 2020                                 Respectfully Submitted,

 JAMES HODGES                                        IMC CREDIT SERVICES, LLC

 /s/Marwan R. Daher                                  /s/ Jackson L. Schroeder (with consent)
 Marwan R. Daher                                     Jackson L. Schroeder
 Counsel for Plaintiff                               Counsel for Defendant
 Sulaiman Law Group, Ltd.                            Kightlinger & Gray, LLP
 2500 S. Highland Ave., Ste. 200                     211 North Pennsylvania Street
 Lombard, Illinois 60148                             Indianapolis, Indiana 46204
 Phone: (630) 575-8181                               Phone: (317) 638-4521
 mdaher@sulaimanlaw.com                              jschroeder@k-glaw.com
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                                   CERTIFICATE OF SERVICE

           I hereby certify that I today caused a copy of the foregoing document to be electronically

 filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

 record.


                                                               /s/ Marwan R. Daher
                                                               Marwan R. Daher
